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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF DELAWARE


 THE EXCELLENT THE EXCELLENT RAJ
 K. PATEL, from all capacities,
                                                    No. 1:24-cv-0021-MN
                                        Plaintiff

          v.

 THE UNITED PARCEL SERVICES INC.,

                                      Defendant

       FED. R. CIV. P. 55(b)(2) DEFAULT JUDGEMENT ENTERED BY COURT

       This action came on for hearing on the motion of the plaintiff for a default judgment

pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure, and the defendants having been

duly served with the summons and complaint and not being an infant or an unrepresented

incompetent person and having failed to plead or otherwise defend, and their default having been

duly entered and the defendants having taken no proceedings since such default was entered,

       Defendant The United Parcel Services, Inc. shall cause payment to Plaintiff Raj K. Patel

for of $98,000,000.00 (ninety-eight million dollars) in damages, and $50 (fifty dollars) in costs,

for a total of $98,000,050.00 (ninety-eight million and fifty dollars). The recovery shall carry the

interest at the rate of twenty (20) percent annum from the date of this judgment. Plaintiff Patel

shall pay the filing of $405.00 upon receiving compensation.


       IT IS ORDERED AND ADJUDGED that here set forth relief granted to plaintiff.


       SO ORDERED AND ADJUGED This _____ day of March 2024.


                                                      ___________________________________
                                                        THE HON. MARYELLEN NOREIKA
                                                          United States District Court Judge
